         Case 2:13-cr-00147-RHW                                        ECF No. 46   filed 02/26/14   PageID.106 Page 1 of 2



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 5                                                UNITED STATES DISTRICT COURT
 6                                               EASTERN DISTRICT OF WASHINGTON

 7     UNITED STATES OF AMERICA,
                                                                                      No. CR-13-0091-RHW-2
 8                         Plaintiff,                                                     CR-13-0147-RHW-2
 9                         v.
                                                                                      ORDER DISMISSING
10     SHANNON STILTNER,                                                              INDICTMENT AND CONTEMPT
                                                                                      PROCEEDINGS AS TO
11                         Defendant.                                                 DEFENDANT STILTNER
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                   Before the Court are the Government’s Motions for Orders of Dismissal in
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     Case No. CR 13-0091-RHW-2, ECF No. 32; and Case No. CR-13-0147-RHW-2,
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     ECF No. 44. These matters were heard without oral argument and on an expedited
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     basis. Jay McEntire represents Defendant Shannon Stiltner. Sean McLaughlin
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     represents the Government.
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                   Pursuant to Fed. R. Crim. P. 48(a), the Government seeks voluntary
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     dismissals, with prejudice, as to Defendant Stiltner regarding: (1) the judicially
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     initiated contempt proceedings in Case No. CR-13-0091-RHW-2; and (2) the
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     Indictment in Case No. CR-13-0147-RHW-2. The Court also notes that Defendant
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     Stiltner pled guilty and has been sentenced in Case No. CR-13-0012-RMP-3, to
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     conspiracy to commit felony criminal contempt, in violation of 18 U.S.C. §§ 371
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     and 401(3). As provided by the plea agreement in that case, which involved the
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     same factual basis and allegations in the above-captioned matters, dismissal of all
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     charges in Case Nos. CR-13-0091-RHW-2 and CR-13-0147-RHW-2 is now
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     appropriate, and there is no objection by Defendant Stiltner.
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     ORDER DISMISSING INDICTMENT AND CONTEMPT
     PROCEEDINGS AS TO DEFENDANT STILTNER * 1
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 1   The Court makes no judgment as to the merit or wisdom of the dismissals.
 2                 Accordingly, IT IS HEREBY ORDERED:
 3                 1. The Government’s Motions for Orders of Dismissal and to Expedite in
 4   Case No. CR 13-0091-RHW-2, ECF Nos. 32, 33; and Case No. CR-13-0147-
 5   RHW-2, ECF Nos. 44, 45, are GRANTED.
 6                 2. The Indictment and the Judicial Contempt proceedings in the above-
 7   captioned matters are DISMISSED with prejudice.
 8                 IT IS SO ORDERED. The District Court Executive is directed to enter this
 9   Order, forward copies to counsel and U.S. Marshal.
10                 DATED this 26th day of February, 2014.
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12                                                                 s/Robert H. Whaley
                                                                 ROBERT H. WHALEY
13                                                          Senior United States District Judge
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     ORDER DISMISSING INDICTMENT AND CONTEMPT
     PROCEEDINGS AS TO DEFENDANT STILTNER * 2
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